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                                                       September 11, 2023

  UNDER SEAL ON ECF & ELECTRONIC MAIL

  The Honorable Carol Bagley Amon
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

                 Re:     United States v. Antony Abreu, 22 Cr. 208 (CBA)

  Your Honor:
          Defendant Antony Abreu (“Mr. Abreu”) writes in response to the Court’s request for
  counsel to indicate whether it intends to cross-examine certain police witnesses on background
  issues raised in the government’s September 1, 2023 disclosure and motion to preclude the
  defendants from eliciting testimony about Giglio materials. The government seeks preclusion of
  administrative findings and civil lawsuits for eight law enforcement officers. Of the eight officers
  referenced by the government, Mr. Abreu may seek to cross-examine two of the witnesses about
  prior misconduct related to the witnesses’ character for truthfulness – Detective Jeffrey Lehn, who
  will testify about the identification of the getaway vehicle, and Detective Lyheem Oliver, who
  collected surveillance video at the location of the murder.

         The admissibility of evidence at trial is governed by the Federal Rules of Evidence. Fed.
  R. Evid. 402 provides that all relevant evidence is admissible except as otherwise provided by the
  Constitution, Act of Congress, or applicable rule. The court may allow inquiries into “specific
  instances” of misconduct where it is probative of the witness's character for truthfulness. Fed. R.
  Evid. 608(b); United States v. Cruz, 894 F.2d 41, 43 (2d Cir. 1990); United States v. Williams, 605
  Fed. Appx. 45, 46 (2d Cir. 2015) (summary order); Jean-Laurent v. Wilkinson, No. 05-CV-583
  (VM), 2009 WL 666832, at *3 (S.D.N.Y. Mar. 13, 2009).

          Fed. R. Evid. 608(b) provides that during cross-examination, the court may permit inquiry
  into “specific instances of a witness's conduct ... if they are probative of the character for
  truthfulness or untruthfulness.” United States v. Laster, S1 06 Cr. 1064(JFK), 2007 WL 2872678,
  at *2 (S.D.N.Y. Sept. 28, 2007) (citing United States v. Wilkerson, 361 F.3d 717, 734 (2d Cir.
  2004)). Wide latitude should be allowed when a government witness in a criminal case is
  being cross-examined by the defendant. See United States v. Weiss, 930 F.2d 185, 197 (2d Cir.
  1991); United States v. Masino, 275 F.2d 129, 132 (2d Cir. 1960). Cross-examination is
  permitted “within the scope of the direct examination, Fed. R. Evid. 611, and as to issues relating
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  to credibility.” Baker v. Goldman Sachs & Co., 669 F.3d 105, 110 (2d Cir. 2012) (citing Fed. R.
  Evid. 607, 608(b)).

          The government cites ten civil lawsuits in which Detective Lehn was a named defendant
  and five civil lawsuits in which Detective Oliver was a named defendant. Most of the lawsuits
  were settled by the City of New York and the two officers. A number of the lawsuits include
  allegations of false arrest and malicious prosecution – claiming false allegations in initiating the
  criminal proceedings and prosecuting the plaintiffs. For example, Det. Lehn was a named
  defendant in Luis Castro v. The City of New York, P.O. Jeffrey F. Lehn, et al., 11-cv-0290
  (E.D.N.Y.), which Det. Lehn and his lawyers settled for $42,500. Id. at Dkt. No. 11. Det. Lehn
  was accused of repeatedly punching the plaintiff in the face and falsely arresting him, but we are
  attempting to confirm the extent that Det. Lehn falsified NYPD records and provided false
  information to the District Attorney’s office, a grand jury or at trial. Id. at Dkt. No. 1. This is just
  one of the cases against Detective Lehn.

          With the Court’s permission, we will update the Court as soon as we complete our
  investigation into the circumstances giving rise to the lawsuits – to be better able to determine the
  extent that the cases bear on the two law enforcement officers’ credibility. Your Honor’s attention
  to this matter is greatly appreciated.

                                                   Respectfully submitted,


                                                   Susan G. Kellman
                                                   Eylan Schulman

  cc:   All Counsel




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